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ProSe 1 (Rev. 12/16)Coinplaim for a Civil Cast


                                       United States District Courj,.
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                                                                    for the                                       0
                                                       Eastern District ofVlrginia                                               :I


                                                             Alexandria Division



                                                                      )       Case No. I!jS                         ^ Ldjf
                                                                     )                   (to befiled in by the Clerk's Office)
                                                                     )
                              Plomliff(s)                             )
(Write thefull name ofeach plaintiffwho isfiling this complaint.     )        JuryTrial; (checkone) I I Yes I INo
Ifthe names ofall the plaintiffs cannotfit in the space above,        )
please write "see attached" in the space and attach an additional
page with thefull list ofnames.)                                      )
                                 -V-                                  )
                                                                      )
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 C&FR /j',RE'i?TFcH. THC.                                             )
                  /          Defendant(s)                             )
 (Write thefullliame ofeach defendant who is being sued. Ifthe        )
 names ofalt the defendants cannotft in the space above, please
 write "see attached" in the space and attach an additionalpage       )
 with thefull list ofnames.)


                                                 COMPLAINT FOR A CIVIL CASE


 I.         The Parties to This Complaint
            A.        ThePIaintiffls)

                      Provide the information below for each plaintiff named in the complaint. Anach additional pages if
                       needed.

                                 Name

                                 Street Address

                                 City and County                    FAlL-s                    cwiA                           CaUyiH^.
                                 State and Zip Code                 \//\       Ouv^X V
                                 Telephone Number
                                 E-mail Address



             B.        The Dcfendant(s)

                       Provide the information below for each defendant named in the complaint, whether the defendant is an
                       individual, a government agency, an organization, or a corporation. For an individual defendant,
                       include the person's job or title (ifknown). Attach additional pages if needed.

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